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                                                       MINUTE ORDER                                                     Page 5

                                       Magistrate Judge Marty F. Elfenbein
                       Atkins Building Courthouse - 5th Floor                               Date: 5/31/24       Time: 2:00 p.m.
Defendant: Robert P. Burke                                 J#: 17911-511   Case #: 24-3054-MJ-ELFENBEIN
AUSA: Eli Rubin                                       Attorney:
Violation: DC/WARR/INDICTMENT/BRIBERY & ACTS AFFECTING A   Surr/Arrest Date: 5/31/24                        YOB: 1962
            PERSONAL FINANCIAL INTEREST

Proceeding: Initial Appearance                                                  CJA Appt:
Bond/PTD Held:                                      Recommended Bond:
Bond Set at: $10,000 personal surety                                            Co-signed by:
     Surrender and/or do not obtain passports/travel docs w/i 3 business days         Language: English
     Report to PTS as directed/or            x’s a week/month by                      Disposition:
     phone:          x’s a week/month in person                                        Defendant advised of his rights and
     Random urine testing by Pretrial
     Services                                                                          charges. Defendant advised the Court he
     Treatment as deemed necessary                                                     has counsel in the District of Columbia.
     Refrain from excessive use of alcohol                                             AFPD assisted as a friend of the Court for
     Participate in mental health assessment & treatment                               bond purpose and removal proceedings.
     Maintain or seek full-time employment/education                                   Defendant sworn. Defendant waives
     No contact with victims/witnesses, except through counsel                         removal hearing.
     Government to provide list by 6/3/24.

     No firearms                                                                       Government recommended a bond ROR

     Not to encumber property                                                          or $0 PSB, the Court imposed a bond of

     May not visit transportation establishments                                       $10K PSB ** Travel restricted to SDFL and

     Home Confinement/Electronic Monitoring and/or                                     District of Columbia to appear at court
     Curfew          pm to           am, paid by                                       hearings as needed and any other travel
     Allowances: Medical needs, court appearances, attorney visits,                    pre-approved by PTS. Defendant ordered
     religious, employment
                                                                                       removed. Defendant released.
     Travel extended to: **
                                                                                        Time from today to ________ excluded
     Other:                                                                             from Speedy Trial Clock
NEXT COURT APPEARANCE           Date:                    Time:         Judge:                          Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R. 14:48:25                                                                 Time in Court: 20 mins
                                             s/Marty F. Elfenbein                                   Magistrate Judge
                Case 1:24-cr-00265-TNM Document 11 Filed 06/03/24 Page 3 of 12
                                UNITED STATES DISTRICT COURT
                                SOUTH ERN DISTRICT OF FLORIDA
                                  Case N o: 24-3054-M J-ELFEN BEm

U nited StatesofAm erica
       Plaintiff,
     M.
                                              Charging D istrict's Case N o. 24c1.
                                                                                 265

RobertP.Burke,
      Defendant.


                   W A W ER OF RULE 5 & 5.1REM OVALJIDENTJTY H EARJNGS
                       -




          Iunderstandthat1havebeen charged in anotherdistrict,theDistrictofColum bia.
          1have been informed ofthechargesand ofmy rightsto:
          (1)     retaincounselorrequesttheassignmentofcounselifIam unabletoretaincounsel;
          (2)     anidentityhearingto determinewhetherImnthepersonnamedinthecharges;
          (3)     productionofthewarrant,acertified copyofthewarrant,orareliableelectroniccopy of
                  either;
          (4)     a preliminazy hearing within 14 daysofmy firstappearanceif1am in custody and 21
                  daysotherwise- tmless1am indicted - to determ ine whetherthere isprobable cause to
                  believethatan offensehasbeen com m itted;
          (5)     ahearingonanymotionby thegovernmentfordetention'   ,
          (6)     requesttransferofthe proceedingsto thisdistrictunderFed.R.Crim.P.20,to plead
                  guilty.

      .
          Iagre towaivemyrightsto:(check thosethatapply)
                  An identity hearing andproduction ofthewarrant.
            I---IA preliminaryhearing.
            r--1A detentionhearingintheSouthernDistrictofFlorida.
            (-7 Anidentityhearing,productionofthewarrant,andanypreliminaryordetentionhearing
                 to which Im ay be entitled to in thisdistrict. Irequestthatthose hearingsbe held in the
                 prosecuting district,ata tim esetby thatcourt.
          1consentto the issuance ofan order requiring my appearance in the prosecuting districtwhere
the charges are pending againstm e.
                                                          '
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D ate: 5/31/24                                                    I                         zd
                                                                                        .
                                                                                             W
                                                               arty F.Elfenbein
                                                              United StatesM agistrate Judge
                       Case 1:24-cr-00265-TNM Document 11 Filed 06/03/24 Page 4 of 12
y

    (Revised03/2020)

                                        UNITED STATES DISTRICT COURT
                                        SO U TH E RN D ISTR ICT O F FLO RID A

                                 APPEA R AN CE B O ND :

                                          CASENO.:2j- ,
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                                                      '
                                                      $()$t
                                                          )
    UN ITED STA TES O F A M ERICA :
                           Plaintiff,
                                                                USM#: l'
                                                                       .
                                                                       F'
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                                                                        I1l-5-Il
                           Defendant,
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                 k/tk--                          /
    1,theundersigneddefendantand1orwe,theundersignedsureties,jointly andseverally acknowledgethatweand
    ourpersonalrepresentatives,jointlyandseverally,areboundtopaytheUrlited StatesofAmerica,thesum of
    $ J,
       '(ù& C) w(?//-ft)/lék/ stt.kv                A.
                                                     pct
                                                       zi61
                                        STA N D AR D C O ND IT IO N S O F BO N D

    The conditions ofthis bond are thatthe defendant:
        1. Shallappear before this Courtand atsuch otherplaces asthe defendantm ay be required to appear,in
    accordance with any and a11orders and directions relating to the defendant's appearance in this case,including
    appearance forviolation ofa condition ofthe defendant's release asm ay be ordered or notitsed by this Courtor
    any otherUnited StatesDistrictCourtto which thedefendantm aybeheld toanswerorthecausetransferred.The
    defendantisrequired to ascertain from the Clerk ofCourtordefense counselthetim eand placeofa11scheduled
    proceedingson the case. ln no eventmay adefendantassum ethathisorhercasehasbeen dism issed unlessthe
    Courthasentered an orderofdismissal. Thedefendantisto abideby anyjudgmententered in suchmatterby
    surrenderingtoserveanysentenceimposedandobeyinganyorderordirectioninconnectionwithsuchjudgment.
    This isa continuing bond,including any proceeding on appealorreview,which shallremain in fullforce and
    effectuntilsuchtime asthe Courtshallorderotherwise.
           M ay nottraveloutside the Southelm DistrictofFlorida unless otherwise approved by the Courtpriorto
    any such travel.The Southern DistrictofFloridaconsistsofthe following counties:Broward,Highlands,lndian
    W ver,M artin,M inm i-Dade,M onroe,O keechobee,Palm Beach and St.Lucie.
        3. M ay notchange his/herpresentaddress withoutpriornotitication and approvalfrom the U .S.Probation
    Officer orthe Court.
       4. M ust cooperate w ith 1aw enforcem ent officers in the collection of a DN A sam ple if the collection is
    required by 42 U .S.C .Section 14135a.
        5, M ustnotviolate any federal,state or locallaw w hile on release in this case.Should the defendantcom e
    in contactw ith law enforcem enthe/she shallnotify the U .S.Probation O fficerw ithin 72 hours.
                          Case 1:24-cr-00265-TNM Document 11 Filed 06/03/24 Page 5 of 12
                                                                    DEFENDANT:r'robe't (%tk,/KG
                                                                    cAsENUMBER:Zf l- $i'S j
                                                                    PAG E TW O


                                             SPECIAL CONDITIONS OF BOND

ln addition to compliance with the previously stated conditions ofbond,the defendantmustcomply with the
specialconditions checked below :

-
        a.Surrenderallpassportsandtraveldocpm ents,ifany to PretrialServicesand notobtain any traveldocum ents
     duringthependencyofthecase; (a.1f'f1tl? -Y . ' /ot-t.çl.qttlsJ'tk.at -j
                                                                           ..
                                                                            j                     .
                                                                                                 'x
        .                                                ,

t/ b ReporttoPretrialSenicesasfollows:(1/'asdirectedor timets)aweek inpersonand
    -        .                                                                                             timets)aweekby
          telephone',
        c.Subm itto substance abuse testing and/ortreatm ent,contributeto the costofservicesrendered based on ability
          to pay,asdetermined by theU.S.Probation Oftk er;
        d.Refrain from      excessive OR       abstain 9om alcoholuseor any useofanarcoticdrugorothercontrolled
                 substance,asdefinedinsection 102oftheControlledSubstancesAct(21U.S.C.j802),withoutaprescriptionby
          alicensedmedicalpractitioner;
        e.Participate in a m ental health assessm ent and/or treatm ent and contribute to the costs of services rendered
          based on abilityto pay,asdetermined by theU .S.Probation Officer;
            f.Employmentrestrictionts):
        g.M aintain oractively seek full-time employment;
        h.M aintain orbegin an educationalprogrnm ;
        i.A void allcontactw ith victim s orw itnessesto the crim es charged,exceptthrough counsel. The A U SA shall
          provide defense counseland pretrialservices with the nam es ofal1victim s orwitnesses.The prohibition
          against contact does not take effect untildefense counsel receives the list.The prohibition against contact
          applies only to those persons on the list,butthe prosecutor m ay expand the listby sending w ritten notice to
          defensecounseland pretrialservices.;
        j.Avoid a11contactwithco-defendantsanddefendantsinrelatedcases,exceptthzoughcounsel'
                                                                                           ,
        k.Refrainfrom possessingafirearm,destructivedeviceorotherdangerousweaponsandshallsurrender(ifany),
              their concealed w eaponspennitto the U .S.Probation Office;
            1.Noneofthe signatoriesm ay sell,pledge,mortgage,hypothecate,encumber,etc.,any realproperty they own,
              untilthebond isdischarged,orothem ise modifed by the Court;
            m .M ay notvisitcom m ercialtransportation establishm ent:airports,seaport/m arinas,com m ercialbus term inals,
               train stations,etc.;
            n.Defendantshallconsentto the U.S.Probation Oftk er conducting periodic tmnnnotmced examinations ofthe
               defendant'scomputerequipmentatllis/herplaceofemploymentoron the computerathis/herresidencewhich
                 may includerekievaland copyingofa1ldaG 9om thecomputerts)and any internalorextemalperipheralsto
                 ensure com pliance w ith tllis condition and/orrem ovalof such equipm entfor the purpose ofconducting a m ore
                 thoroughinspection;andconsentatthedirection oftheU.S.Probation OffcertohaveH talledonthedefendant's
                 computerts),atthedefendant'sexpense,anyhardwareorsokwaresystemstomonitorthedefendant'scomputer
                 llse;
                    Case 1:24-cr-00265-TNM Document 11 Filed 06/03/24 Page 6 of 12
I
                                                              DEFENDANT:'
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                                                              cAsENUMBER:Jq, - lcls't.
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                                                              PAG E THR EE


        o.LOCATION M OM TORING PROG M M :The defendant shall be m onitored by the form of location
          monitoring and shallabide by a1lteclmology requirem entsasnoted below,aswellascontributeto the costsof
          servicesrendered basedon ( )abilitytopay asdeterminedbytheU.S.ProbationOflicer- or- ( )paidby
          U.S.Probation;
             Location monitoring technology atthediscretion oftheofficer
             RadioFrequency(1kF)monitoring(ElectronicMonitoring)
             Active GPS M onitoring
             Voice Recognition
             Curfew :Y ou are restricted to your residence every day 9om      to      .orasdirected by the supelwising
             oë cer.
                                                            OR
             Home Detention:You arerestricted to yourresidenceata11tim esexceptfor:
             ( )medical
             ( )substanceabuseormentalhealth treatment
             ( )courtappearances
             ( )attorneyvisitsorcourtorderedobligations
             ( )religiousselwices
             ( )employment
             ( )otheractivitiesaspre-approvedbythesupervisingoffcer
    -    p.RESIDENTIAL RE-ENTRY CENTER: The defendant shallreside at a residentialre-entry center or
           halfway houseandabidebyallthenzlesand regulationsoftheprogrnm.Thecosttobepaidby( lpretrial
           Services or ( )based on the defendant'sability to pay.You are restricted to the residentialre-entry
           center/halfway house ata1ltim esexceptfor:
              )employment
              )education
              )religiousservices
              )medical,substanceabuse,ormentalhealthtrea% ent
              )attomeyvisits
              )courtappearances
              )courtorderedobligations
              )reportingtoPretrialServices
              )other
    -    q.Third-party Custody:                                          w illserve as a third party custodian and w ill
           reportany violations ofthe release conditions to the U .S.Probation Ofticer. Failure to com ply with these
           requirements,the third-party custodian can besubjecttotheprovisionsofl8 U.S.C.j401,Contemptof
           Court.
         r.Thedefendantshallsubmithisperson,property,residence,vehicle,papers,computers,(asdetined in 18
           U.S.C.1030(e)(1)),otherelectroniccommtmicationordatastoragedevicesormedia,oroffice,toasearch
           conducted by a United States Probation Ofticer. The defendant m ust w arn any other occupants thatthe
           premisesmaybesubjecttosearchespursuanttothiscondition.Anysearchmustbeconductedatareasonable
           tim e and in a reasonable m arm er.
             Case 1:24-cr-00265-TNM Document 11 Filed 06/03/24 Page 7 of 12
                                                      DEFENDANT: ffoiack't- tMtikKG
                                                      cAsE NUMBER: éq .
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                                                      PAGE Fotm

  s. M andatory A dam W alsh C onditions: Defendant shall abide by specitied restrictions on personal
  associations,place of abode,ortravel,to avoid a1lcontactwith an alleged victim ofthe crim e and with a
  potentialwitness who m ay testify concem ing the offense'
                                                          ,reporton a regular basis to a designated 1aw
  enforcementagency,pretrialservicesagency orotheragency;comply withaspecitiedcurfew (withelectronic
  monitoring)andrefrain9om possessingatirearm,destructivedeviceorotherdangerousweapons.
  t.AdditionalSex OffenseConditionsForDefendantsCharced orConvicted ofa SexualOffense:
              )Defendantmaynothavecontactwithvictimts),oranychildundertheageofl8,unlessapproved
                by theCourtorallowed by theU .S.Probation Ofticer.
              )Thedefendantshallnotpossessoruseany dataencryptiontechniqueorprogram andshall
               provide passwordsand adm inistrativerightstotheU.S.Probation Officer.
               Defendantshallparticipate in specialized sex offenderevaluation andtreatment,ifnecessary,
               and to contributeto thecostsofservicesrendered based on ability topay,asdetermined by
               theU.S.Probation Office.
              )Defendantshallnotpossess,proclzre,purchaseorothenviseobtain anyintemetcapabledevice
                and/orcom puter.A dditionally,the defendantis prohibited from using another individual's
                com puterordevicethathasintem etcapability.
              )Defendantisprohibitedfrom establishingormaintaininganyemailaccountorsocialmedia
                account.Additionally,thedefendantisprohibited from usinganotherindividual'semailaccount
                orsocialmediaaccount.M ustprovidemonthly orupon request,personalphone and creditcard
                billings to PretrialServices to contirm there are no servicesw ith any internetservicesprovider.
              )Defendantisnotpermittedto enterplaceswherechildren congregateincluding,butnotlimited
                to any play areas,playgrounds,libraries,children-themed restaurants,daycares,schools,
                am usem entparks,carnivals/fairs,unlessapproved by the U .S.Probation O fficer.
        7. ( )Thedefendantshallnotbeinvolvedinany children'soryouthorgnnl'zations.
        8. ( ) Defendantisprohibitedfrom viewing,owning,orpossessinganyobscene,pomographic,or
                sexually stim ulating visualorauditory material,includingtelephone,electronicm edia,
                Com puterW ogram s,Of Com ptlterSCIV CCS.
              )Thedefendantshallparticipatein amaintenancepolygraphexnminationtoperiodically
               investigate the defendant'scom pliance.The polygraph exam ination shallspecifcally address
               only defendant'scompliance ornon-compliancewith the specialconditionsofreleaseand shall
               notinquireinto the factsofthepending crim inalcaseagainstdefendant.Thedefendantwill
               contributetothecostsofservicesrendered (co-payment)basedonabilitytopay oravailability
               ofthird-party paym ent.
  u.Maytraveltoandfrom:$b#'
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                                        ,
                                        'f
                                         andmustnotifyPretrialServicesoftravelplansbefore
  leaving and upon return.
- v.complywiththetbllowingadditionalco ditionsofbond:                                                 .
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                   Case 1:24-cr-00265-TNM Document 11 Filed 06/03/24 Page 8 of 12
#                                                           DEFENDANT:'
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                      PENALTIES AND SANCTIONS APPLICABLE TO DEFENDANT

           Violation ofany ofthe foregoing conditionsofreleasemay resultin the imm ediate issuanceofawarrant
    forthe defendant's arrest,a revocation ofrelease,and orderofdetention,asprovided in 18 U.S.C.j3148,
    forfeitureofanybailposted,and aprosecution forcontemptasprovided in 18U.S.C.j401,whichcouldresult
    in a possible term ofim prisonm entora fine.

           The commission of any offense while on pretrialrelease m ay result in an additional sentence upon
    conviction forsuch offenseto a term ofim prisonmentofnotmorethan ten yeazs,ifthe offenseisa felony;ora
    term of imprisonment of not m ore than one year,if the offense is a m isdem eanor.This sentence shallbe
    consecutiveto any othersentenceand mustbe imposed in addition to the sentencereceived fortheoffense itself.

           Title18U.S.C.j1503makesitafelonycriminaloffensepunishableby imprisonmentanda$250,000fine
    tointimidateorattempttointimidateawitness,jurororofticerofthecourt;l8U.S.C.j1510 makesitafelony
    crim inaloffensepunishableby imprisonm entanda $250,000 tineto obstructacrim inalinvestigation;18 U.S.C.
    j1512 makesitafelony criminaloffensepunishable by imprisonmentand a $250,000 tine to tamperwith a
    witness,victim orinfolnnant;and 18U.S.C.51513makesitafelonycriminaloffensepunishablebyimprisonment
    and a$250,000fnetoretaliateagainstawitness,victim orinfonuant,orthreaten todoso.
           Itisacriminaloffenseunder 18U.S.C.j3146,ifafterhaving been released,thedefendantknowingly
    failsto appearasrequired by the conditionsofrelease,orto surrenderforthe service ofsentence pursuantto a
    courtorder.Ifthe defendantwasreleased in cormection with acharge of,orwhile awaiting sentence,suaender
    forthe service ofa sentence,orappealorcertiorariafterconviction for:

        (1)an offensepunishableby death,lifeimprisonment,orimprisonmentforaterm oftifteen yearsormore
            thedefendantshallbefned notmorethan $250,000 orim prisoned fornotmorethan tenyer s,orboth;
        (2)anoffenseptmishableby imprisonmentforaterm offiveyearsormore,butlessthan fifteenyears,the
            defendantshallbe fined notmorethan $250,000 orimprisoned fornotm orethan fiveyears,orboth;
        (3)anyotherfelony,thedefendantshallbefinednotmorethan $250,000orimprisonednotmorethantwo
            years,orboth;
        (4)amisdemeanor,thedefendantshallbefinednotmorethan $100,000 orimprisonednotmorethanone
            year,orboth.

           A tenn ofimprisonm entimposed forfailureto appearorsurrendershallbe consecutivetothesentence of
    imprisonmentforany otheroffense.In addition,afailureto appearmay resultin theforfeitureofany bailposted,
    w hich m eansthatthe defendantw illbe obligated to pay the f'ullam ount of the bond,w hich m ay be enforced by
    a1lapplicablelawsofthe United States.
                        Case 1:24-cr-00265-TNM Document 11 Filed 06/03/24 Page 9 of 12
                                                                                  DEFENDANT: uolovt# (3t.
                                                                                                        cpKe-
                                                                                  CASENUMBER: X $ - '
                                                                                                    Z &36#
                                                                                  PAGE sIx

                            PENA LTIES AND SA NCTIO NS APPLICABLE TO SU RETIES
Violation bythedefendantofany oftheforegoing conditionsofreleasewillresultin an immediateobligation bythe surety orsureties
topaythefullamountofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialofficer
ofanyUnitedStatesD istrictCourthaving cognizanceoftheaboveentitledm atteratthetim eofsucbbreach,and ifthebond isforfeited
andtheforfeimreisnotsetasideorremitted,judgmentmaybeentereduponmotionin suchUnitedStatesDistrictCourtagainsteach
suretyjointly andseverally fortheamountofthebond,togetherwith interestand costs,and executionmaybeissuedandpayment
secured asprovidedbytheFederalRulesofCrim inalProcedureandotherlawsoftheUnited States.
                                                        SIG NATURES
lhavecarefullyreadand Iunderstandthisentireappearancebondconsisting ofsevenpages,orithasbeenreadto me,and,ifnecessary,
translatedintomynativelanguage,and lknow thatlam obligatedby law to comply with allofthetennsofthisbond.lpromisetoobey
al1conditions ofthisbond,to appearin courtasrequired,and to surrenderfor service ofany sentenceim posed.lam aware ofthe
penaltiesand sanctionsoutlined in thisbond forviolationsofthetermsofthebond.
lflam an agentacting fororon behalfofacorporatesurety,1furtherrepresentthatlam aduly authorizedagentforthecoporatesurety
andhavefu11powerto executethisbond in theam ountstated.
                                                                         DEFENDA NT
signedthis    -$
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Signed andacknowlçdg beforem )                                            DEFENDANT:
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       City                                  State

                                                                  CO RPO R ATE SU RETY
Signed this               day of                                   ,20     at                        ,Florida
SURETY:                                                                    AGENT:(Signature)
                                                                           PRINT N AM E:
         City                                     State

                                                                  IND IVID UAL SURETIES
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SURETY:(Signature)                                                              SURETY:(Signature)
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RELATIONSO TO DEFENDANT:                                                        REM TIONSHIPTO DEFENDAM ':

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 oate, s/atlzy                                                                  M AR    FU G U EIM ELFENB EIN
                                                                                UN ITED STA TE S M A G ISTM TE JUD G E
           Case 1:24-cr-00265-TNM Document 11 Filed 06/03/24 Page 10 of 12

                                  UNITED STATESD ISTRICT COURT
                                  SOUTHERN D ISTRICT OF FLOIUDA
                                   CaseN o.24-3054-M J-ELFEN BElN

U nited StatesofAm erica
               Plaintiff,



RobertP. Burke,
            Defendant.



                                       O R DER O F R EM O VA L

       ltappearing that in the D istrict of Colum bia,an Indictm entw as filed againstthe above-nam ed
defendant on a charge of Bribery of Public Officials,and that the defendant w as arrested in the
Southern District of Florida and w as given a hearing before U nited States M agistrate Judge M arty F.
Elfenbein atM inmi,Florida,which officially comm itted the defendantforrem ovalto the District of
Colum bia,itis ORDERED AND ADJUDGED thatthe defendantbe removed to the above-nnmed
districtfortrialon said charge.
       And it further appearing that the defendant w aived further hearing in the said rem oval
proceedings and w as held by the M agistrate Judge M arty F.Elfenbein forrem ovaland posted bailin the
nmountofS                              WQ'              rovedbytheUnitedStatesMagistrateJudge
M arty F.Elfenbein,and it is further ORD ERED thatthe defendant shallappear in the aforesaid district
atsuch times and places as may be ordered by thatDistrictCourt,in accordance with the term s and
conditions ofaforesaid bond furnished by the defendant,and itisfurtherO RD ERED thatthe funds,plus
interest,which may have been deposited on behalfofthisdefendantwith the Clerk ofthe Courtunder
BailReform Actbetransferred to thedistrictwhererem oved.
       D ON E A N D OR DERED atM inm i,Florida on 5/31/24.




                                                  M arty F.E1f nbein
                                                  United States M agistrate Judge
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